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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                     PITTSBURGH
                                            )
CHRISTY GUYAUX, as agent and sister of      )
Gary Guyaux, an incarcerated person,        ) Civil Action No. 2:18-cv-00955
                                            )
             Plaintiff,                     )
                                            ) United States Magistrate Judge
      vs.                                   ) Cynthia Reed Eddy
                                            )
ALLEGHENY COUNTY and ORLANDO                )
HARPER, Warden of Allegheny County Jail,    )
                                            )
             Defendants,                    )


                           HEARING MEMO/ MINUTE ENTRY

Hearing Date: August 22, 2018
Time: 11:30 AM – 11:45 AM
Type of Hearing or Conference: Telephone Status Conference
Reporter: none
Law Clerk: Kathleen Davis (kathleen davis@pawd.uscourts.gov)

Counsel for Plaintiff                                       Counsel for Defendants
Deborah R. Erbstein                                         John A. Bacharach
David A. Wolf


Orders, Remarks, Instructions

      Parties stipulate and agree that the case can be administratively closed




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